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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

RUSTY STRICKLAND,
ALAN AND AMY WEST FARMS,
ALAN WEST,
AMY WEST,
DOUBLE B FARMS, LLC, and
BRYAN BAKER,

Plaintiffs,

v. Case No. 2:24-cv-60-Z

THE UNITED STATES DEPARTMENT OF
AGRICULTURE,

THOMAS J. VILSACK, in his official capacity )
as Secretary of the United States Department of )
Agriculture, )

ZACH DUCHENEAUX, in his official capacity?

as Administrator of the Farm Service Agency, )
and
THE UNITED STATES OF AMERICA, )

Defendants.

CERTIFICATE REGARDING JUDGE-SPECIFIC REQUIREMENTS

I, the undersigned attorney, hereby certify that I have read and will comply with all judge-
specific requirements for Judge Matthew J. Kacsmaryk, United States District Judge for the
Northern District of Texas.

I further certify that no portion of any filing in this case will be drafted by generative
artificial intelligence or that any language drafted by generative artificial intelligence—including
quotations, citations, paraphrased assertions, and legal analysis—will be checked for accuracy,

using print reporters or traditional legal databases, by a human being before it is submitted to the

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Court. I understand that any attorney who signs any filing in this case will be held responsible for
the contents thereof according to applicable rules of attorney discipline, regardless of whether

generative artificial intelligence drafted any portion of that filing.

Respectfully submitted,

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Ed McConnell, SBN: 13442500
Local Counsel for Plaintiffs

CERTIFICATE OF SERVICE

I hereby certify that on April 4, 2024, a true and correct copy of the above and foregoing
document was served upon all counsel of record via the Gourt’s ECF system.

Ed MeConnell

